Case 2:06-cv-00535-ROS Document 17-14 Filed 03/06/06 Page 1of 3

Flynn Files - Ultimate Warrior Interview Part IV Page 4 of 10

FLYNN |: Who are some thinkers and some authors that you have read that you have got
something out of?

WARRIOR): All kinds. The Diad and The Odyssey are great stories written beautifully.
Young guys always want testosterone driven stories, I tell them to read Homer. The writings
exchanged between the Founders are awesome and inspiring. American history is too. History
by Plutarch , Thucydides , Gibbon , Herodotus —all that stuff from the Great Books writings is
great, Aristotle's Ethics is a must read, De Tocqueville and Adam Smith too. Russell Kirk, I've
gotten a lot out of him and also got turned on to many other traditional conservative thinkers
through him, especially The Conservative Mind that he authored. Any Rand . I got alot out of
reading Ayn Rand. I part ways with her atheism, and am a little perplexed how someone so in
appreciate of creation and existence didn't ever write on the Greatest One—the world around
us. But the philosophy she laid out in detail, Objectivism, is truly the philosophy we all live by
to survive on this Earth. I think as corrective for young people with their subjective heads up
their butts, her writings are the best to suggest. Of course, all the Founding documents too. So
much lies in those documents and the Federalists papers about what was dependent upon the
people for our Republic to survive, the virtues and the morals.

FLYNN | : Others?

RIOR]: Yeah, many. Albert Jay Nock , Irving Babbitt , Coleridge, Randolph,
Tec George Santayana , Solzhenitayn , Whittaker Chambers , alittle William F,
Buckley, Thomas Paine —I don't think he gets the eredithe deserves, I mean he did create
“United States of America” and did more to inspire the colonists to revolt than any other...he
was vilified because people tock his book The Age of Reason (great book itself) and
contextually twisted into something it was not. Oh, there are many others.

“Contemporarily, I really dig Victor Davis Hanson's books. He's a brilllant classicist and
eloquent writer who writes about what the serious detrimental effects are of losing our
historical and cultural ties to Western Civilization. I don'tread much fiction—some of the
great stuff isan exception, like George Orwell. [Friedrich] Hayek. Thomas Sowell, Bill Bennett
has done some great anthology books pulling together a lot of the Founder's literature and
correspondence and | always enjoy getting back into them. I read some current stuff but not
as much as I stick with the classical, Great Books stuff. [thought your book, Why The Left
Hates America, was awesome and filled with great ammo to fight the fight..As are Coulter's
books and many other modern books. There are just s0 many and only so much time.

FLYNN | : When you go out on college campuses—and obviously kids don't have alot of
time to read because they're reading anyway in their classes—if you were to recommend one
or two books to a nineteen or twenty-year-old conservative, what would you recommend.

WARRIOR): Distinctly about Conservatism?
FLYNN |: Yes.

WARRIOR| : Well, I would start with The Conservative Mind, Goldwater's Conscience of a
Conservative, I would also suggest, to provide a good overview of the cultural degeneration
and where we're at, Slouching Toward Gomorrah by Robert Bork. It's a great read with a
broad but detailed overview. Dinesh D'Sousa's simply written book Letters to a Young
Conservative. The Bennett books I mentioned..And Ayn Rand, some of her non-fiction stuff
from Who Needs Philosophy? and The Virtue of Selfishness or The New Intellectual—at the
least these books will prep a young kids mind on how to think and where to go next to find
more,

FLYNN |: When you look at the political landscape. I know there are probably hundreds of
people that you could point to that are on your “enemies list," but when you look at current
political office-holders is there anyone out there where you say, “I really: admire this person."

WARBIOR |: No. I can't think of anybody. There is one gay who I know who is more
conservative than others, a guy from Texas—Ron Paul, But if you are talking about being in

http://flynnfiles.com/blog/warrior/warrior4.htm 06/24/2005
Case 2:06-cv-00535-ROS Document 17-14 Filed 03/06/06 Page 2 of 3

Flynn Files - Ultimate Warrior Interview Part IV

office, I don't know of any others, Tom Delay throws some-follow-through punches once in a
while and I like that, I do get some stuff from the Constitution Party and I like where they
stand on what government's role should be, They are strict constitutionalists and I like that,
But I don't like how they, and other like groups as them, spin Jesus and Christianity. Yes, this
country was founded with emphasis on a belief in God, a Supreme Being. There's no doubt
about that. Only a damn idiot can't see that. But throuzh the study I've done, I don't see that
belief flowing distinctly out of Jesus or Christianity’s organized religion. It's just not there,
and these groups use the ignorance most people have to mislead. I'm not putting it into the
best words perhaps, but, off the top of my head, that's how I see it. God is huge and all over
the idea America, but twisting things into what they are not bothers me.

FLYNN}; Firsthand, or secondhand, have you gotten any sort of reaction from any of your
ald colleagues in wrestling about what you're doing these days?

WARRIOR] : No, well—yes, secondhand. Goes back to what I said earlier. I'm cut from a

ifferent mold. Most the guys I worked with are stil trying to make a living off the business,
in any way they can, They haven't grown in the ways I have. Of course, they think what I am
doing is oddball. Truth is they don’t really know and have never taken the time to find out.
Everybody who finds out about what [ am doing these days by reading some criticism of me
elsewhere, when they take the time to come and find out truly where my head is, they are
pleasantly surprised. Many are proud to have been fans of my wrestling career, but even more
proud to say they are bigger fans of what I am doing now.

FLYNN | : Any chance you'll ever go back to wrestling?

WARRIOR |: 1 don't foresee it, There's no place to go, IT can’t split my energies and always
ave in the back of my mind that I will return. I just keep on keeping on with what I am doing
now, I have been able though to use quite advantageously the intellectual property. New dolls
are out and they are selling better than all others. [just sold one of my collector's dolls for
more than that has ever been paid for a wrestling figure. And I am in Akklaim’s new “Legends
of Wrestling” game. The response about that has been over the top—getting ready to do some
promotional appearances for that soon. It’s been, believe it or not, very humbling to see how
en Warrior's popularity has sustained itself. Of course, I never expected anything less
aughs),

FLYNN |: Let's close with this, I thought it would be fun to throw some names and get a one
or two sentence response.

WARRIOR | : Couple of sentences is going to be hard for me, but I'm game...

FLYNN |: Pat Tillman.

WARRIOR): I wrote a post on him, you should go read it. Incredible man. I think a lot of
people had a hard time calling him the best or better, and I wrote pointing that one thing out.
I think a real man is okay and comfortable with calling another man, when they are, better
than him. That guy was a hero in a true classical Greek sense. I lived in Arizona for over ten
years, I would like to have known him, I never had the chance,

FLYNN |: George W. Bush.

WARRIOR | : Disappointed, From 2 political point of view, the guy is not a conservative.
é guy has made the government bigger and bigger and he's done some things with
education and immigration and other entitlement gestures that I'm not happy withas a
conservative politically. Some of the PC indulging he’s done offends me—like having a
Kwanzaa tribute at the White House. Aside from that, the guy has integrity and that counts
for alot with me. I'd like to see him have a litte more of his own common-sense mind and
eountry candor. I get the sense he's being handled by his inside-the-beltway blowhards and
goofs. When he shows the top of his cowboy boots and tells it like itis, I like him better, In
general, I'd like to see. a president on a more regular basis bring up things about our
Founding, and use the Founding Father's words and this country's history to defend

http://flynnfiles.com/blog/warrior/warrior4.htm

Page 5 of LU

06/24/2005
Case 2:06-cv-00535-ROS Document 17-14 Filed 03/06/06 Page 3 of 3

Flynn Files - Ultimate Warrior Interview Part IV

themselves, and America, on pasitions—teach Americans while they stand up for what it is
right.

FLYNN |: Then let's go to the other Geo rge, George Washington,

WARRIOR]: 1 mean, incredible. There are so many things to say about those times and

ose people, especially him. When you take the time to know about those times, it’s very hard
not to believe in a prophetic placement, of sorts. To have had these men with their peculiarly
enlightened minds is, well, to me, supernatural almost. Asa guy who believes in destiny, I
believe its founding was something set in motion to happen since creation. And believe that
those men lived to give that epochal time its best shot at happening. That's what I believe and
there is nothing that could make me change my mind, George Washington truly: way
America’s first heroic role model setting a standard for Americans from there on out to
emulate. Whatever his faults, and no human lives without having some, he was aman of
incredible integrity and leadership,

FLYNN| : Vince McMahon?

WARRIOR| : On the whole, I have absolutely no respect or admiration for him. Is¢e him
as uninanly. I guess you could break it down, take for example what he's done with his
business, and you could say he’s been successful, He does love the business of wrestling and I
remember him being a very persistent, hard worker, devoted to doing whatever it took to get
the job done. Even, unfortunately, if that meant maligning or tearing down others. He does
have bank and celebrity, etc. But my own life experiences have taught me that defining
success just on those terms alone, like many mistakenly do, is superficial and those chasing
that kind of suceess are very, very shallow, People like this also have little trouble at being
phonies, liars, and backstabbers. They just see being so as coming with the territory. 'd say
Vince has been very good at hiding his, in truth, losing hand. He's gotten good at that over
years. After all, he’s the ringmaster of a “work.” But he still hag to face his own
disappointment and ugliness each day when he looks in the mirror.

FLYNN |: Jesse Ventura.

WARRIOR | ; You know Jesse is a witty guy, great at sound-bites. That's why he did, in
wrestling, better outside the ring than he did inside it. [think the moniker “The Body" is ill-
fit. The guy never had a good physique when he was in the business and when he was in office
he was nothing less than a fat, piggish slob. Jeez, did you ever see such a gut (laughs)! I think
the disrespect and juvenile irreverence he showed to a governorship of a state was
contemptible, and should be, by any decent adult, condemned, I didn't need to know, azgain-as
most decent people agree, that he doesn't wear underwear as he let the world know. And Iwas
especially offended, as-an American citizen and a guy who has taken the time to know and do
more than speak from a pet-foggy mind, when he went to Cuba and after smoking some of his
cigars comes back te this country singing the dictator's. and Communism’s praises. He teally
proved himself to be just as absent substance as other airhead, anti-American entertainers.
He's a circus act.

FLYNN | :Arnold Schwarzenegger.

WARRIOR] : Lwould not have voted for. Arnold in the election, He's not conservative, But
[think they have underestimated Armold. 1 think Arnold is going to get some great things
done. They don't understand what kind of discipline the guy has had since his bodybuilding
days—that career, what it has done for him, what kind of discipline it has instilled in him
throughout everything else that he has done in his life. T know whatit'’s done for me and
there's nothing like it. T don't agree with the idea that has been advanced that we should
amend the Constitution so he can run for President. I was a huge fan of his for years, for all
that he had done. But as 1 matured myself, I thought he could have used his stroke in
entertainment to make better choices about the projects he did, to more positively affect
culture instead of just piggybacking on the degenerate stuff already going on. A few of his
interviews I read around the same time reflected that he was very puerile in many ways.

FLYNN | : The Rock,

http://flynnfiles.com/blog/warrior/warrior4 htm

Page 6 ot LU

06/24/2005
